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           IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                   FORT WORTH DIVISION

UNITED STATES OF AMERICA                     §
                                             §
V.                                           §     NO. 4:20-CR-269-Y
                                             §
ERIC PRESCOTT KAY                            §

                           NOTICE OF APPEAL

To the Honorable Court:

      Under Federal Rule of Appellate Procedure 4(b), Eric Prescott Kay notifies

the Court and counsel for the United States of America that he appeals to the

United States Court of Appeals for the Fifth Circuit from the judgment and

sentence imposed on October 11, 2022.

                                      Respectfully submitted,

                                            /s/ Brett Ordiway
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                                        Counsel for Defendant-Appellant



                          Certificate of Service

      I certify that this document will be electronically filed with the Clerk of the

Court for the United States District Court, Northern District of Texas, on October

13, 2022, using the electronic case-filing system of the Court and that counsel of

record for the United States of America will be electronically served.

                                            /s/ Brett Ordiway
                                        Brett Ordiway




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